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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                         Case No: 21-CR-711-TJK


                 v.
                                                  18 U.S.C. § 1752(a)(1)
JIA LIU,

                 Defendant.



                                STATEMENT OF OFFENSE


       Pursuant to Federal Rule of Criminal Procedure 1 1, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and Defendant, Jia

Liu, with the concurrence of his attorney, agree and stipulate to the below factual basis for

Defendant's guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                        The Attack art tJre U S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol. During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the United

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 States Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,

 which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.

 Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate

 chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,

 first in the joint session, and then in the Senate chamber.

         4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

        5.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no member of the crowd submitted to

security screenings or weapons checks by U.S. Capitol Police Officers or other authorized security

officials.

        6.       At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of law enforcement, as others in the crowd

encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of approximately $2,734,783.14 million dollars for repairs.



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       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed t~and did—evacuate the chambers. Accordingly, all proceedings of the

United States Congress, including the joint session, were effectively suspended until shortly after

8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to

the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had

been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

                  Jia Liu's Participation in the January 6, 2021, Capitol Riot

       8.      On January 6, 2021, Defendant traveled to Washington, D.C. from New York City,

NY to Washington, D.C. to attend the Stop the Steal rally for former President Donald Trump.

       9.      After the rally, Defendant joined the crowd and walked to the U.S. Capitol.

       10.     While outside on the Capitol grounds, Defendant walked past bike rack fencing that

had been pushed aside by the crowd on January 6, 2021, during the riot on the Capitol.

       1 ].    Defendant then entered the U.S. Capitol Building through the Senate Wing Doors

at approximately 3:24 p.m. He stayed inside the U.S. Capitol Building for approximately 7 minutes

while he took photographs and videos. At 3:31 p.m., Defendant exited the Capitol Building by

climbing out of a window near the Senate Wing Doors.

       12.     Rather than leave the Capitol grounds, Defendant entered the Capitol building a

second time, again through the Senate Wing Doors, at 3:35 p.m.



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        13.     After he entered through the door, Defendant stood at the front of a pack of rioters

for nearly 27 minutes, directly in front of a line of officers attempting to secure the building and

keep rioters out of the building. Defendant saw rioters break in windows and chant things like,

"We want those fucking traitors!" and "Push!" while he stood at the front of the pack of rioters.

        14.     Eventually, around 4:22 p.m., law enforcement was able to clear the group of

rioters, including Defendant, out of the building.

        15.     Defendant knew at the time he entered the U.S. Capitol Building that he did not

have lawful authority to enter or remain in the building.

                                     Elements of the Offense

        16.    Defendant knowingly and voluntarily admits to all the elements of Entering and

Remaining in a Restricted Building or Ground, in violation of 18 U.S.C. § 1752(a)(1). Specifically,

Defendant admits that he knowingly entered and remained in a restricted building and grounds,

that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol

and its grounds, where the Vice President was and would be temporarily visiting, without lawful

authority to do so.

                                                     Respectfully submitted,


                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                             By:      /s/Ashlev Akers
                                                     ASHLEY AKERS
                                                     Trial Attorney




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                            DEFENDANT'S ACKNOWLEDGMENT

         I, Jia Liu, have read this Statement of the Offense and have discussed it with my attorney.
I fully understand this Statement of the Offense. I agree and acknowledge by my signature that
this Statement of the Offense is true and accurate. I do this voluntarily and of my own free will.
No threats have been made to me nor am I under the influence of anything that could impede my
ability to understand this Statement of the Offense fully.


Date: October 20, 2022                       ti` ~ T
                                      JIA LIU
                                      Defendant


                            ATTORNEY'S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



Date: October 20, 2022              ~-\       ~~
                                      BENJAMIN YAST~
                                      Attorney for Defendant




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